          Case: 1:05-cr-00113-SJD Doc #: 918 Filed: 02/20/15 Page: 1 of 1 PAGEID #: 5257

AO247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)           Page I of2 (Page2 Not for Public Disclosure)


                                       United States District Court
                                                                        for the

                                                    SOUTHERN DISTRICT OF OHIO


                   United States of America
                                  v.

                         EARL OWENS III
                                                                               Case No:      1:05-CR-113-002
                                                                               USMNo: 04185-061
Date of Original Judgment:                           01/07/2007
Date ofPrevious Amended Judgment:                    06/24/2010                Gordon G. Hobson, Esq.
(Use Date ofLast AmendedJudgment ifAny)                                        Defendant's Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                                          PURSUANT TO 18U.S.C. § 3582(c)(2)
         Upon motion of £j the defendant Q the Director ofthe Bureau ofPrisons Q the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencmg range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
         LJdENIED. IZI GRANTED and the defendant's previously imposed sentence ofimprisonment (as reflected in
the lastjudgment issued) of      _193                                 months is reduced to              155 months                               .
                                             (CompleteParts I and IIofPage 2 whenmotion is granted)




Except as otherwise provided, all provisions of thejudgmentdated                           01/07/2007             shall remain in effect.

IT IS SO ORDERED.

Order Date:                   02/17/2015
                                                                                                        Judge's signature


Effective Date:               11/01/2015                                                 Sandra S. Beckwith Senior Judge
                     (ifdifferentfrom order date)                                                     Printed name and title
